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Attorneys for Defendant

Live Nation Entertainment, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

JUICE ENTERTAINMENT, LLC, Civil Action No. 11-07318 (WHW) (CLW)
THOMAS DORFMAN, AND
CHRIS BARRETT,

Plaintiffs,

NOTICE OF MOTION
Vs. FOR SUMMARY JUDGMENT

LIVE NATION ENTERTAINMENT, INC, | QR4L ARGUMENT REQUESTED

Defendant.

TO: Amy Walker Wagner, Esq.

Stone & Magnannini, LLP,

100 Connell Drive, Suite 2200

Berkley Heights, New Jersey 07922

Attorneys for Plaintiffs

Juice Entertainment LLC, Thomas Dorfman, and Chris Barrett

PLEASE TAKE NOTICE that on November 21, 2016, at 9:00 a.m. or as soon thereafter
as counsel may be heard, Defendant Live Nation Entertainment, Inc. will move before the
Honorable William H. Walls, Senior United States District Judge for the District of New Jersey,

and hereby does move, by and through its attorneys, Greenberg Traurig, LLP, for an order

pursuant to Rule 56 of the Federal Rules of Civil Procedure dismissing the Plaintiffs’ Complaint,

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with Prejudice and for other, related relief in the event that the Complaint is not dismissed in its
entirety;

PLEASE TAKE FURTHER NOTICE that Defendant shall rely upon its accompanying
Statement of Uncontested Material Facts, Certification of Ian S. Marx, Esq. and Memorandum
of Law in support of its motion;

PLEASE TAKE FURTHER NOTICE that a proposed form of order is submitted
herewith; and

PLEASE TAKE FURTHER NOTICE that oral argument is requested.

GREENBERG TRAURIG, LLP

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Dated: October/¥ , 2016

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